IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CAROL A. LEWIS, et ai., }
) Case No. 18-cv-2929 (RBW)
Plaintiffs, )
) DECLARATION OF JAMES
v. ) PISTORINO IN SUPPORT OF
) CLASS CERTIFICATION MOTION AND
ALEX M. AZAR II, in his official ) APPOINTMENT OF CLASS
capacity as Secretary of Health and ) COUNSEL
Human Services, )
)
Defendant. )
)
I, James Pistorino, declare:
1. I am over the age of 18, have never been convicted of a felony, and I make the
following statements of my own free will.
2. Further to my earlier declaration, I reviewed the spreadsheet of claims compiled

from the Secretary’s document production and that shows that out of 252,337 Part B CGM claims,
76,062 were denied using the “GY” code during the period December 13, 2012-July 21, 2019.

3. In addition, during the period December 13, 2012-July 21, 2019, the spreadsheet
shows that 166,097 Part B denied CGM claims had dates of service on or after January 12, 2017.
Assuming that Part C claims constitute 1/3 of all Medicare claims, this implies 83,048 Part C
claims with dates of service on or after January 12, 2017.

4, In addition, I reviewed the spreadsheet to determine how many claims/persons
received denials on or after October 14, 2018. The spreadsheet shows that, during the period
December 13, 2012-July 21, 2019, some 78,408 claims by some 22,747 persons received initial
denials. Again, this implies a corresponding 39,204 claims and 11,373 people for Part C during
the same period.

5. In addition, I reviewed the spreadsheet to determine how many persons would have

claims in excess of $1,600 if all their claims were added together. The production reflects that,
during the period December 13, 2012-July 21, 2019, some 20,429 Part B beneficiaries
(corresponding to 183,662 claims) would have such claims. Further, if each denied claim by a
beneficiary is considered separately (i.e., whether denied on the same day as other claims or not),
some 51,129 claims by some 10,856 people are in excess of $1,600. If all claims denied on the
same day are considered, some 79,463 claims by some 14,174 people are in excess of $1,600.

6. Attached as Exhibit 4 are true and correct copies of the Medicare Summary Notice,
decision on redetermination, decision on reconsideration, ALJ decision, and MAC decision related

to Claim #1733573292100.

I declare under penalty of perjury, except for statements made upon information and belief,
that the statements made herein are true and correct and if called upon as a witness I would testify

thereto. Executed this 12th day of May, 2020 at Menlo Park, California.

fo

James Pistorino
EXHIBIT 4
eee ey

f Medicare Summary Notice Page 1 of6
% ¢ for Part B (Medical Insurance)

The Official Summary of Your Medicare Claims from the Centers for Medicare & Medicaid Services

DOUGLAS SARGENT
11 PEAR ORCHARD ROAD THIS IS NOT A BILL

PORTLAND, CT 06480-4606

 

Your Claims & Costs This Period

 

Did Medicare Approve All Items and NO
Services?

Number of Items or Services Medicare 3
Denied

 

See claims starting on page 3. Look for NO in
the "Item/Service Approved?" column, See the
last page f for how to handle a denied claim.

 

Your Deductible Status

Your deductible is what you must pay for most health
services before Medicare begins to pay.

 

 

 

Part B Deductible: You have now met your Suppliers with Claims This Period

$183.00 deductible for 2017. April 24, 2017 - February 13, 2018
Minimed Distribution Corp

 

Be Informed!

New Medicare cards are coming! Medicare will mail
new Medicare cards with new numbers between
April 2018 - April 2019. Medicare won't ask you for

personal information or payment to send your new
card.

 

aSabia que puede recibir este aviso y otro tipo de ayuda de Medicare en espafiol? Llame y hable con un agente en espafiol.

PORGRYEGM, HACKER, WAR “agent”, RAL“ Mandarin”. 1-800-MEDICARE (1-800-633-4227)

73630012494
Douglas Sargent THIS IS NOT A BILL | Page 2 of 6

 

Making the Most of Your Medicare

 

Le rs cient

Your Messages from Medicare

SHRUG EaTaES
Fe Sire Tabac

You don't need to do anything to get your new
Medicare card. Beware of anyone who contacts you
about your new Medicare card or asks for your
personal information.

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How to:
rancor par nua erie ie
Rast steele
PEGORIiee
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RFT SIES PITT ITE SCTE ats:
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7 sh erties

Medicare covers many preventive services, such as
pap tests and glaucoma tests. Check your
Medicare & You handbook or visit Medicare.gov to
learn more about covered preventive services.

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8:

Get a pneumococcal shot. You may only need it
once in a lifetime. Contact your health care provider
about getting this shot. You pay nothing if your
health care provider accepts Medicare assignment.

C2) How to Report Fraud To report a change of address, call Social Security

If you think a supplier or business is involved in at 1-800-772-1213, TTY users should call
fraud, call us at 1-800-MEDICARE 1-800-325-0778.
(1-800-633-4227).

Some examples of fraud include offers for free
medical services or billing you for Medicare services
you didn’t get. If we determine that your tip led to
uncovering fraud, you may qualify for a reward.

 

 

Only your physician can order medical equipment
for you.

 

[@ How to Get Help with Your Questions

1-800-MEDICARE (1-800-633-4227)
Ask for “medical supplies.” Your customer-service
code is 16013.

TTY 1-877-486-2048 (for hearing impaired)

Contact your State Health Insurance Program (SHIP)
for free, local health insurance counseling. Call
1-800-994-9422,

73630012494
Douglas Sargent

THIS IS NOT A BILL | Page 3 of 6

 

Your Claims for Part B (Medical Insurance)

Part B Medical Insurance helps pay for durable
medical equipment and other health care services.

Definitions of Columns

Item/Service Approved?: This column tells you if
Medicare covered the item or service.

Amount Supplier Charged: This is your supplier’s fee
for this item or service.

Medicare-Approved Amount: This is the amount a
supplier can be paid for a Medicare item or service.
It may be less than the actual amount the supplier
charged. Your supplier has agreed to accept this

amount as full payment for covered items or services.
Medicare usually pays 80% of the Medicare-approved
amount.

Amount Medicare Paid: This is the amount
Medicare paid the supplier. This is usually 80% of the
Medicare-approved amount.

Maximum You May Be Billed: This is the total
amount the supplier is allowed to bill you and can
include a deductible, coinsurance, and other charges
not covered, If you have Medicare Supplement
Insurance (Medigap policy) or other insurance, it
may pay all or part of this amount.

 

Amount See

Medicare-

 

 

item/ Amount
Quantity, Item/Service Provided Service Supplier Approved Medicare 6 Notes
& Billing Code Approved? Charged Amount Paid B Below
1 External ambulatory infusion Yes $549.50 $313.67 $245.92 $62.731A
pump, insulin (E0784-RRKJKX)
Rental (dme)
Total for Claim #17324763447000 $549.50 $313.67 $245.92 $62.73] B,C

 

 

 

 

Notes for Claims Above

A Payment is reduced by 25% beginning the 4th month of rental.

B This information is being sent to ANTHEM CT. Send any questions regarding your benefits to them.

C After your deductible and coinsurance were applied, the amount Medicare paid was reduced due to

Federal, State and local rules.

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Douglas Sargent , THIS IS NOT A BILL | Page 4 of 6

  
   

   
 
 
   
 

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Item/ Amount Medicare- Amount

 

 

Quantity, Item/Service Provided Service Supplier Approved Medicare

& Billing Code ‘ Approved? Charged Amount Paid

1 External ambulatory infusion Yes $549.50 $313.67 $245.92 $62.73] D
pump, insulin (E0784-RRKJKX)

Rental (dme)

Total for Claim #17324763448000 $549.50 $313.67 $245.92 $62.73] E,F

 

 

 

    

   

Amount Medicare-

Quantity, item/Service Provided Service Supplier Approved Medicare
& Billing Code Approved? Charged Amount Paid |

1 External ambulatory infusion NO $549.50 $0.00 $0.00
pump, insulin (E0784-RRKJKX)
Rental (dme)

Total for Claim #17354737703000 $549.50 $0.00 $0.00 $0.00

 

 

 

 

Notes for Claims Above
D Payment is reduced by 25% beginning the 4th month of rental.
E This information is being sent to ANTHEM CT. Send any questions regarding your benefits to them.

F After your deductible and coinsurance were applied, the amount Medicare paid was reduced due to
Federal, State and local rules. .

G Medicare won't cover this item without a new, revised or renewed certificate of medical necessity.

H You should not be billed for this service. You are only responsible for any deductible and coinsurance
amounts listed in the "Maximum You May Be Billed" column.

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Douglas Sargent THIS IS NOTA BILL | Page 5 of 6

 

item/ ” Amount Medicare- Amount See

 

 

 

Quantity, Item/Service Provided Service Supplier Approved Medicare ) Notes
& Bilting Code Approved? Charged Amount Paid eB Below
November 15, 2017

90 Sensor; invasive (e.g., NO $1,419.00 $0.00 $0.00 | $1,419.00} 1
subcutaneous), disposable, for

use with interstitial continuous

glucose moni (A9276-GX)

Voluntary liability notice

50 Supplies for external insulin NO 195.00 0.00 0.00 0.00 } J,K
infusion pump, syringe type

cartridge, sterile, each (A4225)

November 15, 2017 - February 13, 2018

13 Supplies for maintenance of Yes 695.00 252.20 197.72 50.44
insulin infusion catheter, per week

(A4224)

Total for Claim #17335732921000 $2,309.00 $25 2.20 $197.72] $1,469.44] L,M

 

 

 

 

Notes for Claims Above
I Medicare does not pay for this item or service.

J The information provided does not support the need for this many services or items within this period of
time.

K You should not be billed for this service. You are only responsible for any deductible and coinsurance
amounts listed in the "Maximum You May Be Billed® column.

L This information is being sent to ANTHEM CT. Send any questions regarding your benefits to them.
M After your deductible and coinsurance were applied, the amount Medicare paid was reduced due to
Federal, State and local rules.

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Douglas Sargent THIS IS NOT A BILL | Page 6 of 6

 

How to Handle Denied Claims or File an Appeal

 

Get More Details

If a claim was denied, call or write the supplier and
ask for an itemized statement for any claim. Make
sure they sent in the right information. If they didn’t,
ask the supplier to contact our claims office to correct
the error. You can ask the supplier for an itemized
statement for any item or claim.

Call 1-800-MEDICARE (1-800-633-4227) for more
information about a coverage or payment decision on
this notice, including laws or policies used to make
the decision.

 

If You Disagree with a Coverage
Decision, Payment Decision, or Payment
Amount on this Notice, You Can Appeal

Appeals must be filed in writing. Use the form to
the right. Our claims office must receive your appeal
within 120 days from the date you get this notice.

We must receive your appeal by:

May 3, 2018

 

 

 

 

 

 

If You Need Help Filing Your Appeal

Contact us: Call 1-800- MEDICARE or your State
Health Insurance Program (see page 2) for help
before you file your written appeal, including help
appointing a representative.

Call your supplier: Ask your supplier for any
information that may help you.

Ask a friend to help: You can appoint someone,
such as a family member or friend, to be your
representative in the appeals process.

 

Find Out More About Appeals

For more information about appeals, read your
“Medicare & You" handbook or visit us online at
www.medicare.gov/appeals.

 

73630012494
BL2ANSUUU

arict Noridian Healthcare Solutions, LLC - JA
nsridian P.O. Box 6780

Fargo, ND 58108-6780

201804183315

. Return Service Requested

MIXED AADC ObO
224] 0.9555 NB O.423

Douglas 8. Sargent 70
LL PEAR ORCHARD RD
PORTLAND, CT Ob6480-4bOb

Medicare Appeal Decision
April 17, 2018

XXX-XX-2493A
Douglas B. Sargent
November 15, 2017

Medicare Number:
Beneficiary:
Date(s) of Service:

Document Contro] Number:

Medicare

DME MAC Jurisdiction A
P.O. Box 6780

Fargo, ND 58108-6780
Beneficiary Services:
1-800-MEDICARE
(1-800-633-4227)
1-877-486-2048 (TDD)
Provider Services:
{-866-419-945%8

18092010600

10F4F

ENV 2241

Claim Control Number(s):

Dear Mr. Douglas B. Sargent:

1733573292 1000

This letter is to inform you of the decision on your Medicare Appeal. An appeal is a new and independent
review of a claim. You are receiving this letter because you requested an appeal for A9276-GX (Sensor and
Invasive (e.g. Subcutaneous), Disposable, For Use With Interstitial Continuous Glucose Monitoring System,

One Unit = 1 Day Supply).

The appeal decision is unfavorable. Our decision is that your claim is not covered by Medicare.

More information on the decision is provided below. If you disagree with this decision, you may
request a reconsideration to the Qualified Independent Contractor (QIC), C2C Innovative Solutions,
Inc. You must file your appeal, in writing, within 180 days of receiving this letter. However, if you do
not wish to appeal this decision, you are not required to take any action. For more information on how
to request a reconsideration, see the section of this letter entitled, "Important Information About Your

Appeal Rights."

A copy of this letter was also sent to Minimed Distribution Corp.

Noridian Healthcare Solutions (Noridian) was contracted by Medicare to review your appeal.

Summary of the Facts

ACMS Contracted Medicare Administrative Contractor

 
VLOG

Provider: Minimed Distribution Corp.

Date(s) of Service: November 15, 2017

Type of Service: Diabetic Supplies

A claim was submitted for 90 units of A9276-GX.

An initial determination on this claim was made on December 29, 2017.

The claim denied due to the following:

Medicare does not pay for this item or service.

On April 2, 2018 we received a request for a redetermination.

¢ How to Handle Denied Claims or File an Appeal, appeal letter and summary notice were submitted with
the request.

Decision

We have found that the above mentioned claim is not covered by Medicare, We have also found that the
beneficiary is responsible for payment of this service(s).

Explanation of the Decision

We reviewed the submitted documentation and information in your file. No payment will be made. Policy
Article A52464 states, “CGM devices covered by Medicare under the DME benefit are defined in CMS
Ruling 1682R as therapeutic CGM. CGM devices that do not meet the definition of a therapeutic CGM as
defined in CMS Ruling 1682R will be denied as non-covered (no benefit)."

Who is Responsible for the Bill?

The service(s) in question denied as patient responsibility. Therefore, you are responsible for the denied
charges.

What to Include in Your Request for an Independent Appeal

Special Note to Medicare Providers and Suppliers Only:

Any additional evidence should be submitted with the request for reconsideration. All evidence must be
presented before the Reconsideration is issued. If all evidence is not submitted prior to the issuance of the
reconsideration decision, you will not be able to submit any new evidence to the Administrative Law Judge or
further appeal unless you can demonstrate good cause for withholding the evidence from the Qualified
Independent Contractor.

NOTE: You do not need to resubmit documentation that was submitted as part of the redetermination. This
information will be forwarded to the QIC as part of the case file utilized in the reconsideration process.

Sincerely,
Donna C.

Noridian Healthcare Solutions, LLC
A Medicare Contractor

CC: Minimed Distribution Corp.
Encl:

A CMS Contracted Medicare Administrative Contractor ccm sS
 

Dear D. Sargent?” 7

 

 

Medicare Appeal

Number:
1-7532374422

 

July 05, 2018

D. B. SARGENT
11 PEAR ORCHARD ROAD
PORTLANT, CT 06480

Medicare Reconsideration Decision

RE:
Beneficiary: D. Sargent
Med ID#: *****2493A
Appellant: D. B. Sargent

This letter is to inform you of the decision on your Medicare Appeal. An appeal is
a new and independent review of a claim. You are receiving this letter because
you requested an appeal for the services shown under the Appeal Details section.

The appeal decision is UNFAVORABLE. Our decision is that Medicare will
make no additional payment. More information on the decision is provided on the
next pages. You are not required to take any action.

If you disagree with the decision, you may appeal to an Administrative Law Judge
(ALJ). You must file your appeal, in writing, within 60 days of receipt of this
letter. For more information on how to appeal, see the page entitled "Important
Information About Your Appeal Rights." The amount still in dispute is estimated
to be equal to or over $160.00. However, the ALJ will determine if your appeal
case meets the $160.00 amount in controversy requirement for an ALJ hearing.

 

 

Contact
’ Information

If youhave
questions, write or
call:

C2C Innovative
Solutions, Inc.
QICDME
P.O. Box 44163
Jacksonville, FL
32231-4163 ,

Telephone:
904-224-7433

fae ee,

Who weate:.

We are a Qualified
Independent
Contractor (QIC).
Medicare has
contracted with us to
review your file and
make an independent
decision. _

 

tanec nse oo tome,

 

 
 

 

Summary of Facts

 

 

The service(s) shown below were submitted for payment to Noridian Healthcare Solutions (Noridian).
The explanation of the decision was released in a Medicare Summary Notice to the beneficiary and a
Remittance Advice to the provider of service. A request for a redetermination appeal was submitted to the
Medicare Administrative Contractor (MAC). On April 17, 2018, Noridian Healthcare Solutions (Noridian)
completed the appeal and sent notice of the decision to the appropriate parties. On May 17, 2018, a
Qualified Independent Contractor (QIC) reconsideration request was received for the services referenced in
the “Appeal Details” section. Information and records reviewed by the QIC in this case included:

e Redetermination Letter
e Reconsideration Request
e Medicare Summary Notice (MSN)

 

Decision

 

 

 

The decision on your appeal is shown below:

 

 

 

 

 

 

Medicare Claim Number Procedure /Date of Service
Coverage (ICN)
Non- 17335732921000 | A9276: Disposable Sensor, Cgm Sys - (11/15/17)
~~| eovered— - | - oon we ce tee wb eee -

 

We have determined that D. Sargent is responsible for the denied charges.

 

Explanation of the Decision

 

 

 

Claim Number: 17335732921000

For any item or service to be covered by Medicare, it must fall into a defined Medicare benefit category,
it must not be statutorily excluded, it must be reasonable and necessary under §1862(a)(1)(A) of the
Social Security Act (SSA), and it must meet other Medicare program requirements for payment.
Sections 414.200 through 414.232 of 42 Code of Federal Regulations (CFR) cover payment for durable
medical equipment and prosthetic and orthotic devices. The Medicare National Coverage
Determinations (NCD) Manual, Publication 100-03, includes NCDs that pertain to certain Durable
Medical Equipment, Prosthetics, Orthotics, and Supplies (OMEPOS) items. The Medicare Claims
Processing Manual, Publication 100-04, Chapter 20, instructs on billing and payment for DMEPOS. The
Medicare Program Integrity Manual (PIM), Publication 100-08, Chapter 5, provides guidance on
medical review. The manuals are based upon the above cited law and regulations. DME Medicare
Administrative Contractors (MACs) publish Local Coverage Determinations (LCDs) and related Policy
Articles. The LCDs address the criteria for "reasonable and necessary," based on Social Security Act
§1862(a)(1}(A). The articles encompass the non-medical necessity coverage and payment rules.

 

C2C Innovative Solutions, Inc.
P.O. Box 44163, Jacksonville, Florida 32231-4163

www,.C2Cinc.com
 

Medicare Appeal
Number:

1-7532374422

 

 

 

 

Appeal Details

 

 

Beneficiary | D. Sargent

 

 

Provider Minimed Distribution Corp

 

 

 

 

 

 

Medicare
Claim Number | Date of Service ‘Procedure QIC
Decision
17335732921000 11/15/17 A9276: Disposable Sensor, Cgm Sys | Unfavorable

 

THIS IS NOT A BILL — Keep this letter or a copy for your records.

 

C2C Innovative Solutions, Inc.
P.O. Box 44163, Jacksonville, Florida 32231-4163

www.C2Cine.com

 
SRV,
“ty Department of Health and Human Services

 

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Office of the Secretary
"keneon OFFICE OF MEDICARE HEARINGS AND APPEALS

Seattle Field Office .
700 Stewart Street, Suite 11101
Seattle, WA98101  -
206-539-5300 (Main)
206-539-5374 (ALJ Booker Team)
206-553-0122 (Fax)
844-556-2949 (Toll Free)

October 31, 2018

D. SARGENT
11 PEAR ORCHARD RD
PORTLAND, CT 06480-4606

N' OTICE OF DECISION

Appellant: ~  D, SARGENT
. OMHA Appeal Number: 1-7725439646

Enclosed is the decision for the above case. This decision is based on the administrative record,
including any evidence or testimony presented at the hearing, if one was held. The decision is
hot precedential, does not release the appellant from civil or criminal liability, and may be
reopened at any time if it was procured by fraud or similar fault. In addition, the decision may
be reopened within 180 calendar days from the date of the decision for good cause. Good cause.
exists when there is new and material evidence that was not available or known at the time of the
decision and may result in a different conclusion, or when the evidence that was considered
clearly shows on its face that an obvious error was made at the time of the decision,

- What if I disagree with the decision?

If you disagree with the decision, you may file an appeal with the Medicare Appeals Council.
Other parties may also appeal the decision, In addition, the Medicare Appeals Council may
decide to review the decision on its own motion. If no party appeals the decision and the
Medicare Appeals Council does not review the decision, the decision is binding on all parties and °
you and the other parties will not have the right to ask a federal court to review the decision. ©

If you are not already represented, you may appoint an attorney or other person to represent you.

How much time do I have to file an appeal?

The Medicare Appeals Council must receive your written appeal within 60 calendar days of the
date that you receive this notice. The Medicare Appeals Council assumes you received this _
notice’5 calendar days after the date of the notice unless you show that you did not receive it
within the 5-day period. , oO

OMHA-105 1. Page 1 of 4
The Medicare Appeals Council will dismiss a late request for review unless you show that you
had a good reason for not filing it on time.

How do I file an appeal?

To appeal, you must ask the Medicare Appeals Council to review the decision. Your appeal
must be in writing, except that a request for expedited review of a Part D decision may be made

orally as described below. Your appeal must identify the parts of the decision that you disagree
with, and explain why you disagree.

You may submit a written request for review to the Medicare Appeals Council using one of three
available methods: mail, fax, or electronic filing (E-File), Please do not submit your request

for review using more than one method. Regardless of how you file your appeal, you must

always send a copy of your written request for review to the other parties who received a
copy of the decision.

If you are filing a written request for review, you may use the enclosed Request for Review (form
DAB-101), or you may write a letter containing the following:

The beneficiary’s/enrollee’s name (and telephone number for Part D appeals);

The beneficiary’s/enrollee’s Medicare nuinber (Health Insurance Claim Number or

Medicare Beneficiary Identifier); - .

The item(s), service(s), or specific Part D drug(s) in dispute;

The spécific date(s) the item(s) or service(s) were provided, if applicable;

For Part D appeals, the plan name; \

For Part D appeals, the OMHA Appeal Number on the adjudicator’s decision;

For Part D appeals requesting expedited review, a statement that you are requesting

expedited review;. -

The date of the. adjudicator’s decision (not required for Part D appeals); and

e Your name and Signature, and, if applicable, the name and signature of your
representative. . |

Filing by mail:

Mail your appeal and a copy of the enclosed decision to:
Department of Health and Human Services
Departmental Appeals Board
Medicare Appeals Council, MS 6127
Cohen Building Room G-644
330 Independence Ave., S.W.

Washington, D.C. 20201

Filing by fax:

Fax your appeal and a copy of the enclosed decision to (202) 565-0227. —

_ OMHA-1051 Page 2 of 4
_ Filing by computer:

Using your web browser, visit the Medicare Operations Division Electronic Filing System.
(MOD E-File) website at https://dab.efile.hhs.gov/mod. mo,

To file anew appeal using MOD E-File, you will need to register by:

(1) Clicking Register on the MOD E-File home page;
_ (2) Entering the information requested on the “Register New Account” form; and
(3) Clicking Register Account at the bottom of the form.

You will use'the email address and password you provided during registration to access MOD E-
File at https://dab.efile.hhs.gov/mod/users/new. You will be able to use MOD E-File to file
and access the specific materials for appeals to which you are a party or a party’s representative. .
You may check the status of any appeal on the website homepage without registering.

Once registered, you may file your appeal by:

(1) Logging into MOD E-File;
. (2) Clicking the File New Appeal menu button on the top right of the screen;
(3) Selecting the type of appeal you are filing (Request for Review or Request for
Escalation); and .
(4) Entering the requested Appeal Information and uploading the requested Appeal
Documents on the “File New Appeal — Medicare Operations Division” form. You are |
required to provide information and documents marked with an asterisk.

Ata minimum, the Medicare Appeals Council requires an appellant to file a signed Request for
Review and a copy of the enclosed decision. All documents should be submitted in Portable
Document Format (PDF) whenever possible. Any document, including a Request for Review,
will be deemed to have been filed ona given day, if it is uploaded to MOD E-File on or before
11:59 p.m. EST of that day. _

Currently, the documents that may be filed electronically are the:

(1) Request for Review;
(2) Appointment of Representative form (OMB Form 0938-0950);
' (3).Copy of Administrative Law Judge or attorney adjudicator decision;
(4) Memorandum or brief or other written statement in support of your appeal; and
(5) Request to Withdraw your appeal a

No other documents aside from the five (5) listed categories above may be submitted
through MOD E-File.

Filing by oral request (for expedited review only):

Oral requests for expedited review of a Part D decision may be made by telephone to (866) 365-
8204. You must provide the information listed in the bullet points above and a statement that

OMHA-1051. Page 3 of 4
you are requesting an expedited review within 60 calendar days after receipt of this notice of
_ decision. The Medicare Appeals Council will document the oral request in writing and maintain
the documentation in the case file. os

Please note that your request for review will only be expedited if (1) the appeal involves an issue
specified in 42 C.F.R. § 423.566(b), but does not include solely a request for payment of a Part D
drug that has already been furnished, and (2) the prescribing physician (or other prescriber)
indicates, or the Medicare Appeals Council determines, that the standard time frame may
seriously jeopardize your life, health, or ability to regain maximum function.

How will the Medicare Appeals Council respond to my appeal?

The Medicare Appeals Council wiil limit its review to the issues raised in the appeal, unless the
appeal is filed by an unrepresented beneficiary/enrollee. It may change the parts of the decision

_ that you agree with. It may adopt, modify, or reverse the decision, in whole or in part, or it may
send the case back to OMHA for further action. It may also dismiss your appeal.

Questions?

You may call or write our office. A toll-free phone number'and mailing address are at the top of
this notice,

Additional information about filing an appeal with the Medicare Appeals Council is available at
http://www.hbhs.gov/dab/. You can also call the Medicare Appeals Council’s staff in the
Medicare Operations Division of the Departmental Appeals Board at (202) 565-0100 or

(866) 365-8204 (toll free), if you have questions about filing an appeal. st

ce:
MINIMED DISTRIBUTION CORP. C2C Innovative Solutions, Inc.
18000 DEVONSHIRE ST “ DME QIC Appeals—AL]
ATTN: LEGAL DEPT. P.O. Box 44006
NORTHRIDGE, CA 91325 . Jacksonville, FL 32231-4006
Enclosures:

OMHA-152, Decision

OMHA-001, Notice of Nondiscrimination
OMHA-156, Exhibit List

DAB-101, Request for Review

OMHA-1051 ’ Page 4 of 4.
e Department of Health and Human Services
i OFFICE OF MEDICARE HEARINGS AND APPEALS
t C Seattle, Washington

 

Appeal of: oD. SARGENT _ OMHA Appeal No.: 1-7725439646 _
Beneficiary: D. SARGENT Medicare: Part B
‘Medicare No.:  *****2493A . Before: Lewis T. Booker, Jr.
U.S. Administrative Law Judge

 

 

DECISION

This case is before me on a timely request for review submitted by Mr. Sargent .
(Beneficiary/Appellant) for Supplementary Medical Insurance (Medicare Part B) coverage. It
concerns disposable sensors for a continuous glucose monitoring device. I have carefully
considered the applicable law, regulations, written guidelines, documentary evidence in the
record, and testimony and argument from a hearing. For the reasons set forth below, I enter an
UNFAVORABLE decision against the Appellant.

Procedural History

The Beneficiary received 90 units of continuous glucose monitoring (CGM) disposable
sensors (A9276) from Minimed Distribution Corp. (“Provider”), date of service November 15,
2017.° Thereafter, Mr, Sargent submitted the claim to Medicare for direct reimbursement of the
disposable sensors purchased from the provider. (Exh. 1, p. 26). The claim was denied initially
and on redetermination. (Exh. 2, pp. 19-20). .

The Appellant appealed the redetermination decision, and on July 5, 2018, C2C
Innovative Solutions, Inc., a Qualified Independent Contractor (QIC), issued an unfavorable
decision because the CGM disposable sensors under the durable medical equipment (DME)
benefit are excluded from coverage as precautionary items. (Exh. 1, pp. 1-5). -

The Appellant filed a timely appeal and request for an Administrative Law Judge
(“ALJ”) Hearing, pursuant to 42 C.F.R. § 405.1002(a) on July 27, 2018. (Exh. 3, p. 1). The ALJ
provided due notice to the Appellant and held a hearing by telephone conference on October 25,
2018. The Appellant testified and waived his right to legal counsel. At my request, the Appellant

 

* This is the date of service shown on the billing documents and on the redetermination and reconsideration. A
Notice of Hearing generated through our system inadvertently showed the entire coverage period (through .
February13, 2018) as the date of service; the date of service listed in this decision and on the redetermination and
reconsideration is the correct date of service.

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OMHA Appeal No. 1-7725439646

submitted evidence subsequent to the hearing, admitted under Exhibit 5. I admitted Exhibits |
through 5 without objection and considered them in reaching my decision.

_ Issue

Whether the appellant is entitled to reimbursement of the 90 units of CGM disposable
sensors (A9276), date of service November 15, 2017, pursuant to the applicable Medicare laws,
regulations, and policies.

Findings of Fact
These facts are established by a preponderance of the evidence:

The Beneficiary, a 72-year-old man, presented to a medical office appointment on March
9, 2017 with a history of diabetes type 1 diagnosed in 1987. (Exh. 2, p.25).Hehasan
undetectable C-peptide and was started on an animus pump in April 2010. (éd.) His diabetes
condition is classified as brittle, thus prompting a prescription for a Medtronic pump and Enlite
* Glucose Sensor. (/d.) Every two weeks the Beneficiary sends download information from the
pump to his physician. (/d.) The Beneficiary struggles with hypoglycemic unawareness thus
necessitating multiple 911 emergency calls. (Id.) The local emergency services responded over 2
dozen times over the course of about a decade. (Exh. 2, p. 1).

On June 26, 2017, the Beneficiary again presented to a medical office visit with Dr.
Signore, his endocrinologist, reporting a 911 call due to hypoglycemia since the previous visit.
(Exh. 2, p. 30). His sensor was not reading low but he was unresponsive. (/d.) His physician
advised a snack at 6 p.m., adjusted his alerts, and advised a new Medtronic 670 G monitor to
help with the variability. (Exh. 2, p. 33). As of September 27, 2017, the Beneficiary’s diabetes
remained brittle and multiple adjustments had been made to his insulin treatment regimen on the
basis of therapeutic CGM testing. (Exh. 2, p. 35). He had significant improvement in his diabetes
- control since the addition of continuous glucose sensor. (Exh. 2, p. 40).

Dr. Signore ordered an insulin pump and testing supplies with testing blood glucose
levels recommended five times per day. (Exh. 2, p. 118). An Enlite Glucose Sensor labeled for
every six day change was also prescribed. (Id). A Certificate of Medical Necessity (CMN) for
pump and diabetes supplies, dated May 12, 2016, listed an A1C level of 7.6% on March 30,
2016. (Exh. 2, p. 119). Dr. Signore and Mr. Sargent were both aware that the Medtronic device
was not covered by Medicare. (Exh. 2; p. 40). :

The Appellant has been insulin dependent for 30 years and even small changes in his
lifestyle can drastically change his glucose levels, making them unpredictable. Many ,
hypoglycemic episodes had occurred late at night while he was asleep. The CGM allowed him to
better regulate his daily insulin regimen, with lower chances of a hypoglycemic attack. There .
were times when his hypoglycemic attacks were so bad that he became violent, so violent that at
times the medical first responders had to summon the police. (ALJ Hearing).

The Appellant as of the date of service at issue was using a CGM with three components:

Medtronic Minimed Paradigm MMT-722 Insulin Pump; Medtronic Enlite MMT-7725NA
Transmitter and Medtronic Enlite MMT-7008A Sensor. (Exh. 5, p. 1). The Appellant clarified

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that only the sensors associated with the CGM, date of service November 15, 2017, were at issue
in this appeal. (ALJ Hearing). Mr. Sargent submitted, with his response to the Notice of
Hearing, a two-week sample of his glucose levels. The readings show wide fluctuations: for
example, his intra-day high on September 21 was over 400 milligrams per deciliter, while the
Jow was around 115 (it appears; the graph did not carry over well from the device to the e-mail
facsimile transmission). (Exh. 4, p. 36).

. Mr. Sargent’s diabetic control regimen for the last several years has involved increasing
his sugar consumption to avoid hypoglycemic incidents; that regimen has resulted, however, in
his A1C (an estimate of a longer-term manifestation of diabetes) has increased, and as he rightly
notes, that increase places him at increased risk of damage to his organs. (Testimony; exh. 1, p.
24; exh. 2, p. 27). 2 Ot

Legal Framework
I. _ ALJ Review Authority |

The ALJ within the Office of Medicare Hearing and Appeals performs a de novo review
of those cases where an individual or organization is dissatisfied with the reconsideration of an
' initial determination, provided that there is a sufficient amount in controversy and that the
appellant files the appeal in a timely fashion. 42 U.S.C. § 1395ff(b)(1)(A); see also 42 CFR. §
405.1000 and 405.1002. See generally 70 Fed. Reg. 36386, 36387 (June 23, 2005)(delegation of
_ Secretary’s power specifically to OMHA to conduct reviews). The ALJ will consider all issues
brought out in the initial, reconsidered, or revised determination that were not decided entirely in
the appellant’s favor. See e.g., 42 C.F.R. § 405.1032.

Il: ‘Principles of Law
A, Statutes and Regulations

The Medicare Part B program entitles a beneficiary to have payment made to him or on
his behalf for medical and other health services. Social Security Act § 1832(a)(1), 42 U.S.C. §
1395k(a)(1), 42 C.F.R. § 410.3(a)(1). Coverage of medical and other health services is qualified
by the overarching principles of sections 1862(a) and 1833(e) of the Act, 42 U.S.C. §§ 139Sy(a),
1395ie). Section 1862(a) of the Act limits Medicare payments to items or services that are
“reasonable and necessary for the diagnosis or treatment of illness or injury or to improve the
- functioning of a malformed body member,” notwithstanding any other provision of Title XVII
ofthe Act. 42 U.S.C. § 1395y(a). See also 42 C.F.R. § 411.15(k)(1). Section 1833(e) of the Act
requires a claim for payment under Medicare Part B to be supported by sufficient information
and documentation. 42 U.S.C. § 1395i(e). See also 42 CER. § 424.5(a)(6). Statutes and
’ regulations are binding. 42 C.E.R. § 405.1063.

B. Program Guidance
The Medicare contractor for the region including Connecticut has issued a Local
Coverage Determination, L33882, and an accompanying Policy Article, A52464, effective for

the date of service at issue. The Policy Article provides in pertinent part that “[c]ontinuous
glucose monitors (A9276-A9278) are considered precautionary and therefore non-covered under

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OMHA Appeal No. 1-7725439646

the DME benefit.” This program guidance is not binding, but it is entitled to substantial
deference. 42 C.F.R. § 405.1062. .

The Centers for Medicare and Medicaid Services (CMS) also issued a ruling on January
12, 2017, CMS-1682-R, articulating CMS policy concerning the classification of CGM
monitoring systems as DME equipment under Part B of the Medicare program. Coverage is
provided for a therapeutic CGM if: it has been approved by the FDA for use in place of a blood
glucose monitor; it is generally not useful to the individual in the absence of an illness or injury;
it is appropriate for home use; and it can withstand repeated use with an expected lifetime of a
least 3 years. This CMS ruling is binding. 42 C.F.R. § 405.1063.

Analysis

In this case, the record is clear that Mr. Sargent is an insulin-dependent brittle diabetic
who suffers from hypoglycemic unawareness that has necessitated multiple 911 emergency calls.
In order to alert the Beneficiary to hypoglycemic unawareness episodes, his physician ordered
Medtronic CGM testing. Since using this testing device he has experienced significant
improvement in his diabetes control. The Appellant contends that the CGM allows him to detect
glucose trends and adjust his diet or insulin in direct response to the trends, thus resulting in
better diabetic control.

CMS Ruling No. CMS-1682-R allows Medicare coverage for therapeutic CGM systems
only if the CGM system meets the definition of DME. For CGM products that are used in the
home and approved by the FDA for use in place of a blood glucose monitor for making diabetes
treatment decisions, coverage is provided because they are used directly in making diabetes
treatment decisions as opposed to alerting the patient to use a blood glucose monitor. Policy
Article A52464 is also clear that CGM devices (A9276-A9278) that do not inform treatment
decisions are considered precautionary and, therefore, non-covered under Medicare (ie.
excluded from coverage).

Mr. Sargent is using the Medtronic CGM device to monitor his glucose level. He is not
making treatment decisions based on the device’s alerts, though, as his blood must still be tested
by other means. The physician treating his diabetes, Dr. Signore, acknowledges as much, and
Mr. Sargent has not furnished any evidence that, as of the date of service, the Medtronic device
had been approved to inform treatment decisions. CMS Ruling 1682-R thus does not support
coverage of the appellant’s CGM system since the CGM has not been approved by the FDA for
use in place of a blood glucose monitor for making diabetes treatment decisions. Although Mr.
Sargent significantly benefits from the use of the CGM system and it likely has provided critical
lifesaving information, the Medtronic CGM sensor furnished to the appellant does not meet the
definition of DME under CMS-1682-R. Policy Article A52464 also explicitly states CGM

‘devices are precautionary. Given the CMS ruling and the Policy Article, Medicare coverage
cannot be provided for the sensors at issue.

The CMS ruling is binding. 42 C.F.R. § 405.1063. The Policy Article is not binding, but
it is persuasive authority and represents a considered judgment about the general necessity and
reasonableness of a particular device. This particular case might be appropriate for a departure
from the applicable policy, but that is beyond the authority of an ALJ to do (although I note that

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OMHA Appeal No. 1-7725439646

at least one ALJ has done so in one of Mr. Sargent’s appeals), especially when the basis for
excluding coverage of the Medtronic CGM is supported by the FDA. 42 C.F.R. § 405.1062.

Accordingly, I find that the Appellant is not entitled to reimbursement of the CGM
sensors (A9276) received on date of service November 15, 2017. Since the service atissue is
denied because it is not a Medicare benefit, the Appellant remains financially responsible for the
cost of the non-covered items.

Conclusions of Law

 

The CGM (A9276), date of service November 15, 2017, is excluded from coverage by
Medicare because the CGM device is considered precautionary equipment and is not an FDA
approved CGM system. Mr. Sargent is financially responsible for the cost of the sensors,

Order

_ The Medicare contractor is directed to process this claim in accordance with this decision.

SO ORDERED

Dated: Ql OT 9018 | feel ref
S 1. Booker, Jr.

U.S. Administrative Law Judge

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Department of Health and Human Services

 

. OFFICE OF MEDICARE HEARINGS AND APPEALS
= . Seattle, Washington
Appeal of: D.SARGENT _ | OMHA Appeal No: 1-7725439646
Beneficiary: D,SARGENT = Medicare: Part B
Medicare No.:  ****#24934 Before: Lewis T. Booker, Jr.
U.S. Administrative Law Judge .

 

 

 

 

 

 

 

EXHIBIT LIST
EXHIBIT ' . . DESCRIPTION PAGE
NUMBER NUMBERS

oi "| Initial, Redetermination and Reconsideration Procedural 1-215
Documents . -

2 Medical Records/Evidence Received by CMS Contractors 1-695

3 Request for ALJ Hearing 1-23

4 OMHA Proceedings _- j . , if 1-38

5 Evidence received after.the Request for ALJ Hearing 1 -

 

 

 

 

 

Dated: 10/31/2018

OMHA-156 ' Page 1 of 1
RECEIVED May 19 2018

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DEPARTMENT OF HEALTH & HUMAN SERVICES Office of the Seoretary

‘Departmental Appeals Board, MS 6127
Medicare Appeals Council
- 330 Indépendence Avenue
WAY 10 2019 a oe .  » Cohen Building, Room G-644
me Washington, DC 20201 —
, (202)565-0100/Toll Free:1-866-365-8204

 

Docket Number: M-19-685 _
ALJ Appeal Number(s): 1-7725439646

Douglas Sargent
‘11 Pear-Orchard Rd.
Portland; CT 06480

NOTICE OF DECISION OF MEDICARE APPEALS COUNCIL

What This Notice Means

; Enclosed is a copy of the decision of the Medicare Appeals Council. If you have any
questions, you may contact the Centers for Medicare & Medicaid Services regional office
or the local Medicare contractor. SO me

Your Right to Court Review |

If you desire court review of the Council’s decision and the amount in controversy is
$1,630 or more, you may commence a civil action by filing a complaint in the United
States District Court for the judicial district in which. you reside or have your principal:
place of business. See § 1869(b) of the Social Security Act, 42 U.S.C. § 1395ff(b). The
complaint must be filed within sixty days after the date this letter is received, 42 C.F.R. §
405.1130. It will be presumed that this letter is received within five days after the date
shown above unless a reasonable showing to the contrary is made. 42 C.F.R. §

- 405.1136(c)(2). ,

If you cannot file your complaint within sixty days, you may ask the Council to extend the
time in which you may begin a civil action. However, the Council will only extend the
time if you provide a good reason for not meeting the deadline. Your reason must be set
forth clearly in your request. 42 C.F.R. § 405.1134.
- Ifa civil action is commenced, the complaint should name the Secietary of Health and
Human Services as the defendant and should include the Council’s docket number and ALJ

-appeal number shown at the top of this-notice, 42 CER. § 405.1136(d). The Secretary

must be served by sending a copy of the summons and complaint by registered or-certified

_ mail to the General Counsel, Department of Health and Human Services, 200
Independence Avenue, S.W., Washington, D.C. 20201. In addition, you must serve the
__. United States Attorney for the district in which you file your complaint and the Attorney
_ General of the United States. . See rules 4(c) and (i) of the Federal Rules of Civil Procedure
and 4S CRR G41 0
an MAY 10 «209

‘This notice and enclosed order wete mailed on

 

- Enclosure eo

+ ec: Debra Parrish, Esq,

- Minimed Distribution Copp,
_ .  Q2A AdQIC Records Management . - -
 

DEPARTMENT OF HEALTH AND HUMAN SERVICES
DEPARTMENTAL APPEALS BOARD
Medicare Appeals Council -
Docket No. M-19-685

DS., Appellant .
ALI Appeal No. 1-7725439646

DECISION

The Administrative Law Judge (ALJ) issued a decision dated October 31, 2018, which’

" -coticerned sensors furnished on November 15, 2017, for the appellant-beneficiary’s

(beneficiary’s) continuous glucose monitoring (CGM) system. The ALJ determined that
these CGM system supplies were not covered by Médicare, and that the beneficiary was

_ financially responsible for the non-covered charges. Se ne

The beneficiary, through an appointed representative, has filed a request for review,
seeking Council review of the ALIJ’s action. The Council enters the request for review
into the record as Exhibit (Exh.) MAC-1. The appointed representative submitted a CD

to the Council, which contains several PDF documents, While some of these documents

appear to be copies of documents that are already in the record, the representative did not
assert they relate to a new issue or provide good cause for their admission into the.record
at this stage of review. To the extent these PDF documents area in the record already, the

Council need not consider admitting them because they are duplicative. See 42 C.F.R.

§§ 405.1122(a), (c). Therefore, we exclude this CD with PDF documents from evidence,

and mark the CD for identification purposes as Exh. MAC-2 (Excluded). —

The Council reviews the ALJ’s action de novo. 42 C.F.R. §§ 405.1100, 405.1108. We
have carefully considered the request for review, as well as the administrative record. As
set forth below, we agree with the ALJ’s rationale for non-coverage. Accordingly, we
adopt the ALJ’s decision. 7 cS

AUTHORITIES

Medicare is a defined benefits program. Section 183 2(a)(1) of the Social Security Act
(Act) provides that benefits under Medicare Part B include “medical and other health
services.” Section 1861(s)(6) of the Act defines “medical and other health services” as
including durable medical equipment (DME). Section 1861(n) of the Act lists certain
items that are classified as DME. However, by its own terms, section 1861(n) is not an
 

exhaustive list of those items that qualify as DME. Thus, the fact that an item is not
listed in section 1861(n) does not necessarily mean that it is not DME.

The regulations define DME as equipment that:

can withstand repeated use;

has an expected life of at least three years; _

is primarily and customarily used to serve a medical purpose;

generally is ot useful to ai individual in the absence of an illness or injury; and
is appropriate.for use in the home. : :

"42 CER. § 414.202 (emphasis added). A device or system which does not comply with
all the terms of this definition does not fall within the statutory DME benefit of the
Medicare program.” SO oo a

To receive Medicare coverage, a device must first meet the definition of DME, and must
also be medically “reasonable and necessary” for the particular beneficiary and in fact be
used in the betieficiary’s home, Medicare Benefit Policy Manual (MBPM), CMS Pub.
100-02, Ch. 15, § 110. A claim for a device ot system which meets the definition of |
DME would thus only be covered by Medicare when used by a beneficiary for medical
purposes. =. BO

The CMS Administrator from time. to tinie issues Rulings that serve as precedent final
opinions and official statements of agency policy and interpretation. On January 12,

_ 2017, prior to the date of service at issue here, the CMS Administrator issued a Rijling
addressing whether any CGM systemis constituted DME. Thé Ruling! states:

The FDA recently approved expanding the iridications of one CGM product -
to include. replacement of blood glucose monitors for diabetes treatment
decisions. This Ruling addresses whether ‘therapeutic’ CGMs, which

provide information that can be used to make diabetes treatment decisions . .
meet the definition of DME. For the purpose of this Ruling, all CGMs that
are approved by the FDA for use as adjunctive deyices to complement, not .
replace, information obtained from blood glucose monitors in making
diabetes treatment decisions are referred to as ‘non-therapeutic’? CGMs.

CMS Ruling 1682-R at 7. The 2017 Ruling further states that such “therapeutic” CGM
systems will be considered DME if the CGM system is “approved by the FDA for use in
_ place of a blood monitor for making diabetes treatment decisions{;]” gerierally is not
useful to the individual in the absence of an illness or injury; is appropriate for use in the

 

! https://www.cms.gov/Regulations-and-Guidance/Guidance/Rulings/Downloads/CMS 1682R.pdf (last visited May
6, 2019).
 

home; and includes a durable component. CMS Ruling 1682-R at 13-14 (emphasis
added). In all other cases in which a CGM does not replace a blood glucose monitor for

making diabetes treatment decisions, a CGM is not considered DME.

CMS issues national coverage determinations (N CDs) to specifically address certain
_ items and services. “An NCD is a determination by the Secretary of whether a particular
item or service is covered nationally under Medicare.” 42 CFR. § 405.1060(a). “NCDs
generally outline the conditions for which an item or service is considered to be covered
(or not covered) under § 1862(a)(1) of the Act or other applicable provisions of the Act.”
Medicare Program Integrity Manual (MPIM), CMS Pub. 100-08;-Ch. 13, § 13.1.1. NCDs -
are binding on all contractors, ALJs, and the Council. 42 C.F.R:-§ 405.1060(a)(4).

No NCD addresses whether CGM devices or systems qualify as DME or are covered
under Medicare. By contrast, the Act has explicitly included home blood glucose
monitors as DME and a current NCD spells out the conditions.and limitations under

_ which such monitors and associated supplies may be covered: Act § 1861(a); Medicare
NCD Manual, CMS Pub. 100-03, § 40.2 (NCD 40.2). CGM devices do not test or
monitor blood glucose, but rather monitor interstitial fluid for glucose values, a critical

- distinction we discuss in'more detail later. See CMS Ruling 1682-R at 6, |

A Medicare administrative contractor may issue a local coverage determination (LCD)

that “is a decision . . . whether to cover a particular item or service'on a .

‘[contractor]-wide, intermediary wide or carriér-wide basis.in accordance with Section
1862(a)(1)(A) of the [Act] (i.e., a determination as to whether the item or service is.

_Teasonable atid necessary.)” MPIM, Ch. 13, § 13.1.3. LCDs speak only to whether and

in which circumstances an item or service meets thé coverage requirement of being

_ medically reasonable and necessary for beneficiaries’ conditions.” Information that is not
related to reasonableness and necessity. criteria, including whether an item falls within a
benefit category or is governed by a statutory exclusion, is published throughan

- associated policy article. Jd. LCDs thus would not address whether a device or system

- falls within the Medicare definition of DME at all, as opposed to whether or when an

item of DME is covered under Medicare for use by a beneficiary.” ALJs and the Council

are not bound by, but are required to give “substantial deference” to, applicable LCDs

and other CMS program guidance including program memoranda and manual

instructions. 42 C.F.R. § 405.1062(a).

 

? An LCD may list relevant HCPCS codes to identify products, supplies, and services, including items of DME,
being addressed. The HCPCS was developed by CMS for processing, screening, identifying, and paying Medicare
claims. 42 C.F.R. § 414.40. HCPCS is not a methodology or system for making coverage or payment
determinations and the development of codes is independent of the coverage determination process. The mere
existence of a code for an item or service does not constitute a determination regarding medical necessity, coverage
or payment,
 

The relevant DME contractor published an LCD relating to glucose monitors applicable
during the dates of service at issue: L33822 (Effective Jan. 12, 2017). The LCD .-
provides that home blood glucose monitors will be considered medically redsonable and
necessary for a beneficiary only if the beneficiary has diabetes and is trained to use the | -
home monitor. The LCD also specifies that payment for any glucose monitor willbe
denied as not medically reasonable and necessary if those two “basic coverage criteria”.
arenotpresent. =i; = 2 nn

- The LCD refers to an associated policy article which contains non-medical necessity _
- provisions applicable to glucose monitors. This policy article states:

- Effective for claims with dates of service on or after January 12, 2017,
. Medicare covers therapeutic. CGM devices under thé DME benefit. CGM
_ devices covered by Medicare are defined in CMS Ruling 1682R as
therapeutic CGM. CGM dévices that do not meet the definition of a
therapeutic CGM as defined in CMS Ruling 1682R will be denied as
non-covered (no benefit), = , SO

"Policy Article A52464 (Effective Jan. 12, 2017).”
_.  <* BACKGROUND
1. The CGM at issue. 7

In order to manage diabetes, individuals néed to test their levels of blood glucose at _
varying intervals and determine what treatment in terms of diet and/or insulin is
appropriate. ‘For those who need to test frequently, home blood glucose monitors may

- “enable certain patients to better control theit blood glucose levels by frequently checking
and appropriately contacting their attending physician for advice and treatment.” NCD
"40.2. These meters use blood drops placed by the patient on specially treated reagent
"strips to measure color changes and report blood glucose levels. Jd. Ft

A CGM does not measure blood glucose at all; rather, it estimates, on a continuous basis,
the level of glucose in “interstitial” fluid. A CGM has three basic components: a
disposable sensor, placed under the skin, that generates an electrical signal in responise to
the amount of interstitial glucose present and converts that signal into a glucose
measurement; a transmitter to which the sensor’s information is relayed; and a receiver
(or monitor) that is wirelessly connected to the transmitter and receives the interstitial
glucose measurement from the transmitter and displays it to the user. If the glucose

 

3 Active LCDs are available at https://www.cms.gov/medicare-coverage-database/overview-and-quick-search. aspx;
retired LCDs are available at https /flocaicoverage.cms.gov/med_archive/ (both iast visited May 6, 2019).
Associated policy articles can be accessed from the same pages,
 

5

levels are high or low, depending on the brand/model, a user may be required to confirm
those levels with a finger-stick before taking appropriate action.

Individuals who face daily challenges in managing glycemic levels and trying to avoid
_ hypoglycemic and hyperglycemic episodes may benefit from the use of continuous:
glucose monitoring. Because continuous access to the blood is impractical, CGMs may
_ provide such individuals.with notice to test when levels appear problematic, as well as’
' compiling data on glucose levels over time. However, until recently (as explained later in
relation to the 2017 Ruling), treatment actions could not be based on CGM readings
without direct blood testing, _ Se

2, “The berieficiary’s claim

The record reflects that the beneficiary has type 1 brittle diabetes with hypoglycemic
unawareness. Exh. 2 at 35. The beneficiary submitted a clairn for coverage of sensors
for use with a Medtronic Minimed CGM system. Exh. 1 at 19-20; Exh, 5 at 1; Hearing .
CD. Initially and on redetermination, the Medicare contractor denied the beneficiaty’s
claims. Exh. 1 at 19-20. On-reconsideration, the Qualified Independent Contractor -
(QIC) agreed that the sensors at issue were not covered by Medicare. The QIC specified
_ that the sensors were considered precautionary equipment, and, as such, they were ~~
_ excluded from the DME benefit. Exh. 1 at 1-4. The contractor and the QIC both found
the beneficiary responsible for-the non-coveréd charges. Jd. at 3-4, 20.

+3. The ALJ Decision and Request for Review

Following a hearing, the ALI concluded that the sensors at issue were denied as excluded

_ from Medicare coverage. Decision (Dec.) at 1, 4-5. In reaching this conclusion, the ALJ

found that the beneficiary’s Medtronic CGM system sensors did not meet the definition.
of DME under CMS Ruling 1682-R because this CGM had not been approved by the

FDA for use in place of a blood glucose monitor for making diabetes treatment decisions.
Id. at 4, The ALJ further found that the beneficiary had not furnished any evidence that,
as of the date of service, the beneficiary’s CGM system had been approved to inform
treatment decisions. Jd. The ALJ also concluded that the beneficiary was financially
responsible for the non-covered charges because the service at issue was denied as not a
Medicare benefit. Jd. at 5. .

Before the Council, the beneficiary’s appointed representative first contends that the ALJ
failed to consider the District Court decisions in Whitcomb v. Hargan, Bloom v, Azar, and
- Lewis v, Azar. The representative contends that these decisions are directly on point, and
that they deem CGM to be DME under the relevant statute and regulations regardless of
whether the CGM replaces a finger stick. The représentative also contends that CMS has
paid for the same CGM as the beneficiary used for medically indistinguishable Medicare
beneficiaries. Second, the appointed representative asserts that A CGM is DME because
it is uniformly acknowledged as a medical device, it is the primary means by which |

beneficiaries with diabetes and unawareness control their diabetes, it provides medical

information no other medical device provides, and neither adjunctive use nor.

"confirmatory testing with a finger stick negate‘a CGM’s medical purpose. Finally, the _
“appointed representative asserts that the ALJ did not consider the opinions of specialists
or medical societies, the peer-reviewed literature, or standards of medical care. Exh,

DISCUSSION

After carefully reviewing the record, including the beneficiary’s request for review, the.

~ Council finds that Medicare does not cover the sensors furnished to the beneficiary on

_ Noveniber'15, 2017; because the beneficiary’s Medtronic Minimed CGM system is not:
.. included within. the statutory DME benefit category as provided in‘CMS Ruling 1682-R. —

“Coverage >. -

1, The determination of whether a device meets the definition of DME depends on
., ., {he nature and purpose of the device,-not the individual beneficiary’s usage or

"*!  glinical condition.

‘While the record shows the beneficiary needed his CGM system to assist him with his
type-1 brittle diabetes with hypoglycemic unawareness, the beneficiary’ s:individual
medical condition is not at issue in this case: Before any question can arise of whether an-
item of DME may be reasonable and necessary for-medical treatment under. particular
conditions, or whether an individual beneficiary’s medical condition has been shown to
meet those conditions, a particular device must meet the definition of DME. _

. The Council does not question the beneficiary’s medical condition, the judgment of his

~ doctor, or the utility of the CGM to him. However, we find that the particular system for
which the beneficiary requests coverage, a Medtronic Minimed CGM system, is not .
DME and therefore does not fall within a covered benefit category. In other words, -
classifying a device as DME (or not DME) has to do with its primary function in medical.
treatment, not any individual’s use of the device, however beneficial. - |

The determination of whether an item falls within the definition of a statutory benefit
category is findamental to the nature of Medicare as a defined benefit program and its
resolution cannot vary from one beneficiary to another. The benefits available under
Medicare are defined on a program-wide basis. By contrast, an item or service that falls
within one of the defined benefits may or may not be reasonable and necessary to treat a
particular beneficiary’s clinical condition, a question often briefly summarized as
“medical necessity.” LCDs, as explained earlier, are issued by contractors help clarify
what circumstances and clinical conditions demonstrate medical necessity for a covered
benefit. Before a device like a CGM system can be the subject of an LCD at all,
however, it must fall in a defined benefit category.

_ The focus of our analysis, therefore, must be not on how this beneficiary used the device,
but on whether the device met all the definitional requirements of DME (the only _.
statutory benefit category under which the beneficiary sought to claim coverage)..

2. CMS has consistently interpreted the definition of DME as excluding CGMs not . _
approved for therapeutic use. oe ,

We begin our-andlysis with the principle underlying CMS’s treatment of CGMs, ice., that,
DME must “primarily and customarily used to serve a medical purpose.” 42C.F.R

§ 410.202. CMS. has concluded that some devices that may be useful to patients, and

" may provide reassurance or guidance or backup in various ways, may nevertheless not
constitute DME serving a medical purpose. The MBPM provides somé examples of ° .
equipment that is “presumptively nonmedical” such as equipment that serves “comfort or
convenience functions,” “physical fitness ‘equipment (such as an exercycle),” or" ~

_ “precautionary-type equipment (such a8 preset portable oxygen units).” MBPM, Ch, 15,
§ 110.1(B)(2).* Such equipment is not DME even if it may have “some remote medically
related use.” Id.; see also NCD. 280.1, explaining that preset (as opposed to adjustable)
oxygen units are not DME. because they are “precautionary equipment; essentially not _
therapeutic in nature.” Be SO

Where regulatory language is subject to more than one interpretation, the agericy invested
‘with expertise in the subject matter is entitled to apply a reasonable reading, so long as it
is a permissible construction of the statutory regime. See, e.g., Select Specialty Hosp. of
_ Atlanta v. Thompson, 292 F.Supp.2d 57, 64 (D.D.C. 2003) (citing Chevron U.S.A, Ine. v.
Natural Resources Defense Council, Inc., 467 USS. 837, 843 (1984)). In Chevron U.S.A.,
Inc. v. Natural Resources Defense Council, Inc., the Supreme Court established that, if
Congress has not “‘directly spoken to the precise question at issue,’” then courts “rust
defer to a ‘permissible’ construction of the statute by the agency. Chevron, 467 U.S. 83 7,
843 (1984).
Such deference is particularly appropriate where the statutory and regulatory scheme
most depends on agency expertise. As the District Court in Maryland has explained,
“deference to the Secretary's interpretations of Medicare regulations is ‘all the more
warranted,’ because Medicare ‘is a complex and highly technical regulatory program, in
which the identification and classification of relevant criteria necessarily require
significant expertise and entail the exercise of judgment grounded in policy concerns.””
' Almy v. Sebelius, 749 F.Supp.2d 315, 324 (D. Md. 2010) (quoting Dist, Mem'l Hosp. of

 

4 Other devices are identified in the MBPM as presumptively medical, including respirators, wheelchairs, and
hospital beds. Jd. at § 110.1(B)(1). In other cases, information may need to be developed to determine into which
category a device fails. Jd. at §110.1.
Southwestern N.C. y. Thompson, 364 F.3d 513, 518 (4th Cir.2004); Thomas Jefferson
Univ. v. Shalala, 512 U.S. 504, 512 (1994)). “Courts consistently defer to the Secretary
in recognition of her broad statutory authority over Medicare coverage matters...” —
Almy at 324 n.2 (citing Heckler v. Ringer, 466 U.S. 602, 617 (1984)).:

We note that at least two courts appéar to have substituted an interpretation of the phrase
“primarily and customarily- used to serve a medical purpose” as metely meaning that a
‘device does not have an obvious purpose that is imirelated to health. See; e.g., Whitcomb.
v, Hargan, Civ. No. 17:CV-14, slip. op. at 11, (October 26, 2017) (DME definition is
“clear‘on its face” in that a “device’s primary and customary purpose must be medical as
" opposed to non-medical.”); Bloom v, Azar, Civ. No. 5:16-CV-121, slip. op. at.19 (January
29, 2018). We disagree. If this requirement merely meant that DME devices must have
health-related uses, there would be no point to the further regulatory tequitement that'a
device “generally is not useful to ani individual in the absence of an illnéss or injury.” 42
C.F:R. § 414.202. Regulatory language should be read in a manner thiat gives meaning
_ and effect to all its terms: We coriclude that CMS reasonably and within its authotity

. interpreted the regulatory definition of DME to mean that CGM devices must essentially

serve or add to:therapeutic measures tather than merely be of some medical of. —

health-related use. mS ea a

We also:note that at least one court takes issue with the characterization of CGMs as
“precautionary” devices. See Lewis v. Azar, Civ. No. 15-13530;-slip. op. at'8-9 (April 5,. -

2018).However, CMS has expressed an interpretation of the definition of DME as.
limited to those CGM devices which are suitable for direct determination of treatment
actions, That interpretation was embodied in policy articles explaining that such CGMs
(the only ones available at the time of issuance and the kind the beneficiary has used)
were not DME, 4s they were “precautionary.” See Article A52464 (Effective Jan. 12,
2017) (coverage based on “therapeutic” status of CGM). While “precautionary” may be
a less than felicitous term in this. context, the meaning is not unreasonable. Oxygen units,
like glucose monitors, are unlikely to be used in the absence.of disease. Preset portable
oxygen units may provide additional mobility and convenience which may, insome _
instances, be very important to a patient, but they do not add any treatment modality or
function because they cannot be adjusted to respond to treatment needs. CGM systems
may provide information, including alerts, about blood sugar fluctuations, but they
similarly do not add any treatment modality or function so long as the patient is required
to return to blood glucose measures to make treatment decisions. Where an individual
must still use another device to accomplish the medical purpose at issue (i.e., measuring
the glucose in the individual’s blood), the device is essentially used as an additional -
precaution, but not for the primary medical purpose.
3. CMS has interpreted the definition of DME as including ¢ CGMs approved for
therapeutic use following i issuance of CMS Ruling 1682-R. .

Effective January 12, 2017, CMS published Ruling 1682- -R, which explains in detail
Medicare’ S coverage policy for CGMs and ancillary equipment, The Ruling States;

Medicare. does not cover CGMs approved by the FDA for use as adjunctive
devices to complement; not replace, information obtained from blood
glucose monitors. In our view, such devices are. ‘not used for. making
' diabetes treatment decisions, such as changing one's diet or insulin dosage

.... based solely on. the readings of the CGM, and therefore, have not been
= covered under: Medicare because they are not considered to serve the _
medical purpose of making diabetes treatrnent decisions. In addition, CMS
has viewed the nondurable sensors that measure the patient's, glucose level -
as performing the medically ; necessary function of the system, and
therefore, the system as a whole hag not been regarded as durable .

equipment. This Ruling applies to certain CGMs furnished on or after the
, effective date of the Ruling.

The FDA recently approved expanding the indications of one CGM prodiict
to include replacement of blood glucosé monitors for diabetes: treatment. -
decisions. This Ruling addresses whether ‘therapeutic’. CGMs, which |
provide information that can-be used to make diabetes treatment decisions

‘ meet the definition of DME. For the f purpose of this Ruling, all CGMs that -
are approved by the FDA for use as adjunctive devices to complement, not.
replace, information obtained from blood glucose monitors in making ~
diabetes treatment decisions are referred to as ‘non-therapeutic’ CGMs.

CMs Ruling 1682- Rat 7. The CMS Ruling i is binding on ALJs and the Council.
42 C.F. R. 8§ 401.108, 405.1063.

The Ruling further states that such “therapeutic” CGM systems will be considered DME
if the CGM system is “approved by the FDA for use in place of a blood monitor for
making diabetes treatment decisions[; }’ generally is not useful to the individual in the

absence of an illness or injury; is-appropriate for use in the home; and includes a durable
component. CMS Ruling 1682-R at 13-14.

Here, the FDA has not approved the beneficiary’s Medtronic Minimed CGM system as a
replacement for a blood glucose monitor. Thus, we agree with the ALJ that the CGM at

issue is not DME. As the ALJ, like the Council, was bound by CMS Ruling 1682-R, the
ALJ did not err, as asserted by the appointed representative, by not considering the

opinions of specialists or medical societies, the peer-reviewed literature, or standards of
medical care.
10

We note the appointed representative’s contention that CMS has paid for the same CGM
as the beneficiary used for medically indistinguishable Medicare beneficiaries. However,
" any prior fayorable coverage determinations received by other similarly situated _
beneficiaries do not have any bearing on whether the CGM system sensors furnished to
the beneficiary on November 15, 2017, are covered in this particular case. See 42 C.F.R.

§§ 405.1108(a), 405.1128(a). Each claim is considered individually, based on the record
developed for that. individual claim. SO re SS
Finally; as is the case here, where the items at issue are supplies to be used with
equipment that is not classified as DME, there is no Medicare benefit. Policy Article |
A52464. Thus, we agree with the ALJ that Medicare does not cover the sensors at issue

for use with the beneficiary’s CGM:

Financial Responsibility

The ALJ concluded that the beneficiary was financially responsible for the non-covered
chargés because the service.at issue was denied as not.a Medicare benefit. Dec. at 5. The
beneficiary’s appointed representative has not presented the Council -with any basis for
changing this conclusion. ‘Specifically, the appointed representative has not identified the
- parts of the ALJ 8 conclusion with which she disagrees or raised any exceptions to this . .
conclusion. See Exh. MAC-1. The Council-limits its review to’ the exceptions presented
by an appoitited repiesentative. See 42 C.F.R. §§.405.1112(b), (0). Accordingly, absent
any exceptions, the Couricil summiarily affirms the ALJ’s conclusion régarding financial
responsibility without further discussion. oe = 7

DECISION
Medicare will not cover the sensors furnished to the beneficiary on November 15, 2017.

- The beneficiary is financially responsible for the non-covered charges. The ALJ’s: —
decision is adopted. | oo, BS - ae

MEDICARE APPEALS COUNCIL

Débbie K. Nobleman

Administrative Appeals Judge

 

Date: MAY. 10 2019
